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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

LINDA L. CAIN,                                 )
                                               )
                Plaintiff,                     )
                                               )
        v.                                     )       Case No.
                                               )
GINA Y. KRUPKA and                             )
UNITED STATES OF AMERICA,                      )
                                               )
                Defendants.                    )

                                        COMPLAINT

        The Plaintiff, Linda L. Cain, by and through their attorney, Gary S. Nitsche, P.A., hereby

states the following:

        1.      This action is based upon the Federal Tort Claims Act, 28 U.S.C. §1364(b), and

the Plaintiff resides in the above judicial district and the act and admissions hereby complained

of occurred in said district.

        2.      On or about April 4, 2016, Plaintiff Linda L. Cain was a passenger in a vehicle

being operated by David D. Bartsch that was proceeding on Pearsons Corner Road, near the City

of Dover, County of Kent, State of Delaware.

        3.      At or about the same time and place, the Defendant Gina Y. Krupka was

operating a vehicle as the agent/or employee of the United States of America while working for

the United States Postal Service that was proceeding on Pearsons Corner Road, near the City of

Dover, County of Kent, State of Delaware, and negligently caused her vehicle to strike the

vehicle in which Plaintiff was occupying.

        4.      4.           At all times herein relevant thereto, Defendant Gina Y. Krupka was

acting as an agent or employee of the United Statement of America and was acting within the




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course and scope of her employment with Defendant, under its direction, supervision, and

control.

         5.    The Defendants Gina Y. Krupka and the United States of America were negligent

in that it:

               (a)     Failed to maintain a proper lookout;

               (b)     Failed to maintain proper control over her vehicle;

               (c)     Operated her motor vehicle in a careless manner in violation of 21 Del. C.

§4176(a);

               (d)     Operated her motor vehicle in an imprudent manner in violation of 21 Del.

C. §4176(a);

               (e)     Operated her vehicle without due regard for road and traffic conditions

then existing in violation of 21 Del. C. §4176(a);

               (f)     Failed to maintain a proper lookout in violation of 21 Del. C. §4176(b);

               (g)     Failed to give her full time and attention to the operation of her motor

vehicle in violation of 21 Del. C. §4176(b);

               (h)     Drove on the left side of the highway in violation of 21 Del. C. §4114;

               (i)     Failed to make a proper left turn at an intersection in violation of 21 Del.

C. §4152(a)(2);

               (j)     Failed to control the speed of her motor vehicle as was necessary to avoid

colliding with another motor vehicle on the highway in violation of 21 Del. C. §4168;

               (k)     As otherwise will be revealed through discovery in this case.




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       6.      Each of the aforementioned acts of negligence of Defendant Gina Y. Krupka are

attributable to Defendant United States of America by reason of the doctrine of respondeat

superior.

       7.      Each of the aforementioned acts of negligence of the Defendants constitutes the

proximate cause of Plaintiff’s injuries and damages.

       8.      As a proximate result to aforesaid negligence of the Defendants, the Plaintiff has

suffered the following injuries and damages:

               (a)    Personal injuries all of which may be permanent;

               (b)    Pain and suffering;

               (c)    Medical expenses in the amount of $25, 615.50, plus future medical

expenses.

       WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally,

in the amount of $85,000.00, together with costs of this action.

                                               WEIK, NITSCHE & DOUGHERTY, LLC

                                               /s/ Gary S. Nitsche
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